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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION

    In re:
                                                              Case No.: 3:16-bk-02230-PMG
    RMS TITANIC, INC., et al.,
                                                              Chapter 11
          Debtors. 1
    ________________________________/                         (Jointly Administered)

                                          NOTICE OF ERRATA

       At the hearing to consider the Equity Committee’s Disclosure Statement, held August 30,
2018, the Equity Committee informed the Court that certain provisions in the filed Amended
Disclosure Statement (Docket 1179) would need to be corrected to conform the Disclosure
Statement to the Equity Committee’s Amended Chapter 11 Plan (Docket 1180).

       The Equity Committee hereby files this Notice of Errata, correcting certain entries in the
Disclosure Statement filed on August 29, 2018, Docket No. 1179 in connection with revisions to
the Amended Plan, Docket 1180.

The corrected entries are set forth in bold font below.

       1.     In Section III.A. of the Amended Disclosure Statement, at page 25 of 60 and 26 of
60 in Docket 1179;

                     In accordance with the Bankruptcy Code, the Plan also classifies certain
             Claims separately and provides, separately for each Class, that Holders of
             Allowed Claims will receive various types of consideration, thereby giving effect
             to the different rights of the Holders in each Class. The following chart
             summarizes the proposed classification and treatment of the Holders of Allowed
             Claims under the Plan:




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the "Debtors"). The Debtors' service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


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  Class Claims                  Treatment                                  Status       Voting
                                                                                        Rights

  Class      Non-Tax Priority   Paid in full on the Effective Date         Unimpaired   Deemed
  1          Claims                                                                     to
                                                                                        Accept

  Class      Secured Creditors Paid in full on the Effective Date          Unimpaired   Deemed
  2                                                                                     to
                                                                                        Accept

  Class      General            Each Holder of an Allowed Class 3          Unimpaired Deemed
  3          Unsecured          Claim shall receive its Pro Rata share                to
             Claims, other      of the Initial Distribution, the Interim              Accept
             than Class 5       Distribution(s) and the Final
             Intercompany       Distribution from the Liquidating
             Claims             Trust together with postpetition
                                interest (i) at the rate set forth in
                                the contract giving rise to the
                                Allowed Class 3 Claim or, (ii) if no
                                interest rate is set forth in such
                                contract, at the Federal Judgment
                                Rate set forth in 28 U.S.C. §
                                1961(a) through the date of entry of
                                an order confirming the Amended
                                Plan and post confirmation interest
                                at the rate of 10% per annum on any
                                outstanding balance. In addition, each
                                Holder of an Allowed Class 3 Claim
                                will receive a premium of up to an
                                additional 20% of their claim from
                                proceeds of the sale of French
                                Artifacts.

  Class      Premier Equity     After payment of Allowed Class 3           Unimpaired Deemed
  4          Interests          Claims in full, each Holder of a Class                to
                                4 Equity Interest shall receive its Pro               Accept
                                Rata share of the Initial Distribution,
                                the Interim Distribution(s) and the
                                Final Distribution from the
                                Liquidating Trust.


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  Class Claims                  Treatment                                  Status        Voting
                                                                                         Rights



  Class      Intercompany       On the Effective Date, all                 Impaired      Deemed
             Claims             Intercompany Claims shall be                             to Reject
  5                             cancelled and Holders of
                                Intercompany Claims shall receive
                                nothing under the Plan.




        2.    In section III.C. 1 of the Amended Disclosure Statement at pages 26 of 60 and 27
of 60 in Docket No. 1179:

         “The Exit Financing will be used to pay, on the Effective Date of the Plan, (i) the
         DIP Loan, which the Equity Committee believes, based on information
         provided by the Debtors, to be approximately $5,375,000, including interest;
         (ii); priority claims of the Debtors, which the Equity Committee believes, based
         on information provided by the Debtor to be in the amount of approximately
         $542,000, excluding the allowed administrative claims of professionals
         employed in the Bankruptcy Case, which will be paid when and to the extent
         such claims become Allowed Claims pursuant to Section II B of the Plan;
         and (iii) to fund the Liquidating Trust and Liquidating Trustee’s
         administration of the estate in accordance with the terms of the Plan and the
         Liquidating Trust Agreement.”

       3.      The Amended Plan, Docket 1180, is corrected to conform to the Disclosure
Statement to read as follows at page 17 of 46, Section II of the Amended Plan:

CLASSIFICATION AND TREATMENT OF CLAIMS AND EQUITY INTERESTS

Summary.

         Premier and Intercompany Claims

The chart below summarizes the classes of Claims and Equity Interests of Premier for all purposes,
including voting, confirmation, and distribution pursuant to the Plan:



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  CLASS                                   STATUS

  Class 1: Other Priority Claims          Unimpaired - not entitled to vote

  Class 2: Secured Claims                 Unimpaired - not entitled to vote

  Class 3: General Unsecured Claims       Unimpaired - not entitled to vote

  Class 4: Premier Equity Interests       Unimpaired - not entitled to vote

  Class 5: Intercompany Claims            Impaired, Deemed to Reject Plan.



    4. Conforming changes also are made to the Amended Plan, Docket 1180, at pages
       20 of 46 and 21 of 46, as follows:

         Class 3: General Unsecured Claims.

                      a.      Classification: Class 3 consists of all General Unsecured
         Claims against the Debtors.

                         b.       Treatment: Unless a Holder of an Allowed Class 3 Claim
         agrees to accept a lesser treatment of such Claim, each Holder of an Allowed
         Class 3 Claim shall receive, as soon as practicable in the discretion of the
         Liquidating Trustee, in full satisfaction thereof, its Pro Rata Share of the Initial
         Distribution. In addition, after the Initial Distribution but prior to the Final
         Distribution Date, the Liquidating Trustee may, but is not required to, make one
         or more Interim Distributions to the Holders of Allowed Class 3 Claims of such
         Holders’ Pro Rata Share of Available Cash, when, in the discretion of the
         Liquidating Trustee, the Liquidating Trust has sufficient Available Cash to make
         such Interim Distributions. Finally, on the Final Distribution Date, each Holder
         of an Allowed Class 3 Claim shall receive its Pro Rata Share of the Available
         Cash remaining in the Liquidating Trust, until the Allowed Class 3 Claim Amount
         of such Allowed Claim is paid in full together with postpetition interest (i) at
         the rate set forth in the contract giving rise to the Allowed Class 3 Claim or,
         (ii) if no interest rate is set forth in such contract, at the Federal Judgment
         Rate set forth in 28 U.S.C. § 1961(a) through entry the date of an order
         confirming the Amended Plan and post confirmation interest at the rate of
         10% per annum on any outstanding unpaid balance. In addition, each
         Holder of an Allowed Class 3 Claim will receive a premium of up to an
         additional 20% of their claim from proceeds of the sale of French Artifacts.



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  Dated: September 4, 2018                      By: /s/ Peter J. Gurfein
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                                                -and-

                                                AKERMAN LLP

                                                By: /s/ Jacob A. Brown
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                                                Jacksonville, Florida 32202
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                                                Jacob.brown@akerman.com

                                                Attorneys for the Official Committee of Equity
                                                Security Holders of Premier Exhibitions, Inc.




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 4, 2018, the foregoing was transmitted to the
Court for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which
will send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on September 4, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                              /s/ Jacob A. Brown
                                                              Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
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                                            Jacksonville, FL 32202

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                                            Macon, GA 31208
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TSX Operating Co., LLC                 Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                        c/o Ezra B. Jones
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Creditor Committee                     Creditor Committee

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New York, NY 10017
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